Case 1:18-Cr-00314-RLY-I\/|.]D Document 1 Filed 10/02/18 Page,'l,of 2 Page|D #: 1

UNITED sTATEs DISTRICT CoURT HD'§‘¥HAPCL'S D V*S¥*i‘z
soUTHERN DISTRICT oF INDIANA
2818 OCT ~2 PM 3= |S

lNDIANAPoLls DIvlsIoN
§§
§§ z 'c:.: ~
UNITED sTATES oF AMERICA, ) ‘ §§
)
Plaintiff, )
)
v. ) CAUSE No.
, ' )
STEVEN L. JACKsoN, ) ~
. 4 .
) 1118'€1"031&RLY-M]D
Defendant. )
INDICTMENT
Count 1

[21 U.S.C. Sections 84l(a)(l), (b)(l)(A)- Distribution of Methamphetamine]
The Grand Jury charges that:

On or about May '7, 2018, in Marion County, Within the Southern District of Indiana,
STEVEN L. JACKSON, defendant herein, did distribute 50 grams or more of actual
methamphetamine, a Schedule II Non-l\Iarcotic Controlled Substance.

All of which is in violation of Title 21 , United States Code, Sections 84l(a)(l) and n

841(b)(1)(A).

FORFEITURE
l. Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States Will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 21, United States Code, Sections 853 and 881, and Title 28,
United States Code, Section 2461(c), as part of any sentence imposed

2. Pursuant to Title 21 , United States Code, Section 853, if convicted of the offense

 

Case 1:18-Cr-00314-RLY-I\/|.]D Document 1 Filed 10/02/18 Page 2 of 2 Page|D #: 2

set forth in this Indictment, the defendant shall forfeit to the United States any and all property

constituting or derived from any proceeds the defendant obtained directly or indirectly as a result

of the offense, and any and all property used or,intended to be used in any manner or part to

commit and to facilitate the commission of the offense.

3. The United States shall be entitled to forfeiture of substitute property pursuant to

Title 21 , United States Code, Section 853(p), and as incorporated by Title 28, United States

Code, Section 2461(c), if any of the forfeitable property described above, as a result of any act or

` omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided
without difficulty.

4. In addition, the United States may seek civil forfeiture of the forfeitable property

described above pursuant to Title 18, United States Code, Section 924(d), Title 21 , United

States Code, Section 881(a), and Title 28, United States Code, Section 2461(0).

JOSH

By:

  

 

MINKLER

 

Pamela Domash
Assistant United States Attorney

 

